Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 1 of 7 PageID: 1



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
 ---------------------------------------------------------------X
 EZRA DEBBAH,
                                                                  Civil No:

                                    Plaintiff,                       COMPLAINT FOR
                                                                     VIOLATIONS OF THE
                                                                     TELEPHONE CONSUMER
                                                                     PROTECTION ACT and
                                                                     FLORIDA CONSUMER
                                                                     COLLECTION PROTECTION
                                                                     ACT
          -against-
                                                                     DEMAND FOR JURY TRIAL
 JPMORGAN CHASE & COMPANY

                                     Defendant.
 ----------------------------------------------------------------X

          Plaintiff EZRA DEBBAH, (“Plaintiff”), by and through her undersigned attorneys

 brings this Complaint against the Defendant JPMORGAN CHASE & COMPANY

 (hereinafter referred to as “Defendant” or “Chase”), respectfully sets forth, complains and

 alleges, upon information and belief, the following:

                      INTRODUCTION/PRELIMINARY STATEMENT

     1.   Plaintiffs brings this action on her own behalf for damages and declaratory and

          injunctive relief arising from the Defendant’s violation(s) under Title 47 of the

          United States Code, §227 commonly known as the Telephone Consumer Protection

          Act (TCPA).

     2. The TCPA prohibits auto-dialed calls which are placed to a called party’s cellular

          phone without that party’s consent.             Senator Hollings, the TCPA's sponsor,

          described these auto-dialed calls as “the scourge of modern civilization. They wake

          us up in the morning; they interrupt our dinner at night; they force the sick and
Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 2 of 7 PageID: 2



       elderly out of bed; they hound us until we want to rip the telephone out of the wall.”

       Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255-56 (11th Cir. 2014), citing,

       137 Cong. Rec. 30,821 (1991).

    3. Even if prior consent was given, a consumer has a right to revoke that consent. See,

       Gager v. Dell Financial Services, LLC, 727 F.3d 265 (3rd Cir. 2013).

    4. In 1991, Congress responded to these abuses by passing the TCPA. In enacting the

       TCPA, Congress made findings that telemarketing had become “pervasive due to

       the increased use of cost-effective telemarketing techniques.” See, PL 102-243, §

       2(1). “Residential telephone subscribers consider automated or prerecorded

       telephone calls, regardless of the content or the initiator of the message, to be a

       nuisance and an invasion of privacy.” Id. § 2(10). The TCPA’s findings also reflect

       Congress’s conclusion that “[i]individuals’ privacy rights, public safety interests,

       and commercial freedoms of speech and trade must be balanced in a way that

       protects the privacy of individuals and permits legitimate telemarketing practices.”

       Id. § 2(9). Consumers who receive these unauthorized calls thus have suffered a

       distinct privacy-related interest, namely the “intentional intru[sion] . . . upon their

       solitude or seclusion of their private affairs or concerns.” Intrusion Upon Seclusion,

       Restatement (Second) of Torts § 652B (1977).


                                        PARTIES

    5. Plaintiff is a natural person who resides in Ocean County, New Jersey.

    6. Defendant is a national bank with its headquarters located at 270 Park Avenue, New

       York, New York 10017.
Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 3 of 7 PageID: 3



                             JURISDICTION AND VENUE

    7. The Court has jurisdiction over this matter pursuant to 28 USC §1331.

    8. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                              ALLEGATIONS OF FACTS

    9. Plaintiff repeats, reiterates and incorporates the allegations contained in the

       preceding paragraphs with the same force and effect as if the same were set forth

       at length herein.

    10. On information and belief, on a date better known to the Defendant, Defendant

       began its campaign of communicating with via the use of an automated telephone

       dialing system and prerecorded messages throughout the past four years by calling

       Plaintiffs cellular telephone phone number of (347) XXX-0864 on dozens of

       occasions.

    11. Defendant called from multiple numbers including but not limited to, 210-520-

       6400, 847-426-8085, and 847-426-9138.

    12. Upon information and belief, Defendant was calling Plaintiff in an attempt to

       collect a consumer debt.

    13. Plaintiff is the customary and sole user of the cellular phone number ending in 0864,

       and has been the customary and sole user of that phone number at all times relevant

       hereto.

    14. Plaintiff on multiple occasions told the Defendant to stop her cellular telephone,

       including on or around April of 2018.

    15. On the April 2018 phone call, Plaintiff called Chase and requested several times

       that Chase stop calling. Chase said they would continue to call because there is a
Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 4 of 7 PageID: 4



       balance.

    16. Despite Plaintiff’s requests for the calls to stop, Defendant continued to call

       Plaintiff’s cellular telephone with an automated telephone dialing system and with

       pre-recorded messages.

    17. Defendant’s use of an automated telephone dialing system was further clearly

       indicated by the fact that no customer service representative was on the line

       immediately when the Plaintiff would answer the Defendant’s calls and because

       Defendant left pre-recorded voicemails on the Plaintiffs phone.

    18. By placing auto-dialed phone calls to the Plaintiff’s cell phone, the Defendant

       violated 47 USC §227(b)(A)(iii) which prohibits using any automated telephone

       dialing system or an artificial prerecorded voice to any telephone number assigned

       to a cellular telephone service.

    19. Plaintiff suffered actual damages because the Defendant’s calls to their cell phone

       deprived him of the use of his cellular phone during the times that the Defendant

       was calling their cellular phones, depleted battery life of the cellular telephone, and

       by invading on the Plaintiffs’ right to privacy and seclusion (the very harm that

       Congress sought to prevent).

    20. The Defendant’s repeated calls further caused the Plaintiff to be harassed, stressed,

       frustrated and annoyed. The Defendant’s repeated calls further interrupted the

       Plaintiff day and wasted the Plaintiff time spent answering and otherwise

       addressing these repeated phone calls.

    21. Defendant’s communication efforts attempted and/or directed towards the Plaintiff

       violated various provisions of the TCPA, including but not limited to 47 USC
Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 5 of 7 PageID: 5



        §227(b)(A)(iii).

    22. As a result of Defendant’s violations of the TCPA, Plaintiff has been damaged and

        is entitled to damages in accordance with the TCPA.

                           COUNT I – VIOLATIONS OF THE TCPA

    23. Plaintiff repeats and incorporates by reference all of the above paragraphs of the

        Complaint as though fully stated herein.

    24. The foregoing acts and omissions of Defendants constitute numerous and multiple

        negligent violations of the TCPA, including but not limited to each and every one

        of the above cited provisions of 47 U.S.C. § 227(b) et seq.

    25. As a result of Defendant’s violations of 47 U.S.C. § 227(b) et seq. Plaintiff is

        entitled to an award of $500.00 for each and every negligent violation of the

        TCPA pursuant to 47 U.S.C. § 227(b)3.

    26. As a result of Defendant’s violations of 47 U.S.C. § 227(b) et seq. Plaintiff is

        entitled to an award of treble damages $1,500.00 for each and every knowing

        and/or willful violation of the TCPA pursuant to 47 U.S.C. § 227(b)3.



                            DEMAND FOR TRIAL BY JURY

    27. Plaintiff hereby respectfully requests a trial by jury for all claims and issues in its

        Complaint to which it is or may be entitled to a jury trial.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully prays that judgment be entered against the

 Defendants as follows:

                A. For mandatory statutory damages of $500 each provided and pursuant
Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 6 of 7 PageID: 6



     to 47 USC §227(c)(2)(G)(3)(B), for all phone calls placed to the Plaintiff’s cellular

     phone;

                B.       Plaintiff requests enhanced trebled damages of $1,500 to be awarded

 to the Plaintiffs per call, in accordance with the TCPA, for the Defendant’s willful

 violations of the TCPA;

                C.       For any such other and further relief, as well as further costs,

 expenses and disbursements of this action, as this Court may deem just and proper.



 Dated: March 26, 2019
                                          Respectfully submitted,


                                          By: /s/ Yitzchak Zelman__________
                                          Yitzchak Zelman, Esq.
                                          MARCUS & ZELMAN, LLC
                                          701 Cookman Avenue, Suite 300
                                          Asbury Park, New Jersey 07712
                                          Phone:     (732) 695-3282
                                          Facsimile: (732) 298-6256
                                          Email: yzelman@marcuszelman.com
                                          Attorneys for Plaintiff

                             DEMAND FOR TRIAL BY JURY

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby

 requests a trial by jury on all issues so triable.

 Dated: March 26, 2019                            /s/ Yitzchak Zelman
                                                  Yitzchak Zelman, Esq.


                     CERTIFICATION PURSUANT TO LOCAL RULE 11.2
Case 3:19-cv-08954-MAS-DEA Document 1 Filed 03/26/19 Page 7 of 7 PageID: 7



        I, Yitzchak Zelman, the undersigned attorney of record for Plaintiff, do hereby

 certify to my own knowledge and based upon information available to me at my office, the

 matter in controversy is not the subject of any other action now pending in any court or in

 any arbitration or administrative proceeding.

 Dated: March 26, 2019                           /s/ Yitzchak Zelman
                                                 Yitzchak Zelman, Esq.
